                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


BRAD AMOS,                          ]
                                    ]
            Plaintiff,              ]
                                    ]
vs.                                 ]     Case No: 3:21-cv-00923
                                    ]
THE LAMPO GROUP, LLC, d/b/a         ]
RAMSEY SOLUTIONS; DAVE              ]
RAMSEY                              ]      JURY DEMAND
                                    ]
            Defendants.             ]
______________________________________________________________________________

     RESPONSE TO DEFENDANT RAMSEY’S SECOND MOTION TO DISMISS
______________________________________________________________________________

       Comes now the Plaintiff, Brad Amos, by and through counsel respectfully responds to

Defendant Dave Ramsey’s (“Defendant Ramsey” or “Mr. Ramsey”) Motion to Dismiss. On March

15, 2022, Defendant Ramsey submitted a motion to dismiss Plaintiff’s complaint. Pursuant to

Local Rule 7.01, Plaintiff respectfully submits a response to Defendant Ramsey’s Second Motion

to Dismiss.

                                  PROCEDURAL HISTORY

       Defendant alleges that this is the third filing Plaintiff has made regarding this matter. This

statement is incorrect. As indicated in Defendant’s motion, Plaintiff initially filed this complaint

in Williamson County on April 15, 2021. Plaintiff listed six (6) charges against Defendant Lampo,

one of which was ongoing investigation at the Equal Employment and Opportunity Commission.

On July 28, Defendant Lampo filed a motion to dismiss Plaintiff’s complaint. At this point,

Plaintiff’s investigation with the EEOC had come to a close, and Plaintiff subsequently received a

right to sue. As such, Plaintiff voluntarily dismissed the case on August 24, 2021, and re-raised all




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claims appropriately in federal court on December 13, 2021. Plaintiff now responds to Defendant

Ramsey’s Second Motion to Dismiss.1 Defendants have kept relevant documents away from the

court for some unknown reason but it seems to be part of a personal vendetta exhibit by Defendant

towards Plaintiff and his attorneys. This vendetta is evidenced both in filings and the numerous

false statements made through the media in this matter.

                                           LEGAL ARGUMENT

        The Sixth Circuit has upheld that motions seeking to dismiss claims under Rule 12(b)(6)

are subject to de novo review, where “all factual allegations made by the plaintiff are deemed

admitted” and “ambiguous allegations must be construed in the plaintiff’s favor.” In re Sofamor

Danek Grp., Inc., 123 F.3d 394, 400 (6th Cir. 1997). Furthermore, this Court found that a Rule

12(b)(6) motion should never be granted “based on disbelief of factual allegations in the

complaint.” Id (citing Columbia Natural Resources, Inc. v. Tatum, 58 F.3d 1101, 1109 (6th

Cir.1995), cert. denied, 516 U.S. 1158, 116 S. Ct. 1041, 134 L.Ed.2d 189 (1996).)

        Defendant Ramsey asserted attacks on each of Plaintiff’s complaints, individually. In the

interest of clarity, Plaintiff will also validate the strength of each count asserted in his complaint

one-by-one.

           I.    Count III – Religious Discrimination in violation of the Tennessee Human
                 Rights Act

Plaintiff's Claim is not Time-Barred

        Plaintiff’s Tennessee Human Rights Act (THRA) claim against Ramsey relates back to the

original filing made on April 15, 2021. Defendant attempts to make the argument that this claim

may not relate back to the original filing because Defendant Ramsey was not put on notice of



1
 Plaintiff notes that Defendant previously filed a nearly identical Motion to Dismiss in Williamson County
Chancery Court, making this Defendant’s third Motion to Dismiss.



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potential liability. This argument is not only unfounded, but also irrelevant to controlling law.

Tennessee Courts have found when determining if an amendment for an additional cause of action

relates back to a prior filing, the “amendment must arise from the same conduct, transaction or

occurrence as set forth in the original pleadings.” Rainey Bros. Const. Co. v. Memphis & Shelby

Cty. Bd. of Adjustment, 821 S.W.2d 938, 942 (Tenn. Ct. App. 1991).

           While notice is helpful in this circumstance, Tennessee Courts have made it clear that the

most important factor for this type of amendment is “whether the amendments arise out of the

conduct, transaction, or occurrence in the original complaint.” Maize v. Friendship Cmty. Church,

Inc., No. E201900183COAR3CV, 2020 WL 6130918, at *11 (Tenn. Ct. App. Oct. 19, 2020),

appeal denied (Mar. 17, 2021).2

           In Huber v. Marlow, 2008 WL 2199827, at *5 (Tenn. Ct. App. May 28, 2008) the

Tennessee Court of Appeals stated that whether notice is an actual requirement for the application

of the relation back doctrine depends on whether the amendment seeks to change a party or add a

new party. If it does seek to add a new party, the plain language of Rule 15.03 requires notice,

among other things. If it does not, then Hawk indicates that notice is not a required element,

although “notice may be a useful analytical tool.” Id.

           Both Lampo and Dave Ramsey were included in the original complaint in this matter, and

were both represented by the same counsel. The same counsel who represents them in federal court

now. The underlying facts that give rise to the cause of action under the Tennessee Human Rights

Act against Lampo are the same facts which give rise to Plaintiffs claim under the Tennessee

Human Rights Act against Ramsey. Defendants retaliated against Plaintiff for exercising COVID-

19 precautions in an effort to conform to Plaintiff’s personal religious beliefs. Defendant Ramsey



2
    Plaintiff has provided a copy of this case as Exhibit A.



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found that this conduct clashed with Ramsey’s personal directives, and as a result conspired with

Defendant Lampo to retaliate against and fired Plaintiff. In short, Plaintiff was retaliated against

by Defendants for opposing a practice declared discriminatory under the THRA.

Plaintiff Makes a Valid Claim Against Defendant Ramsey Under the THRA for 12(b)(6)
Purposes

Defendant argues that the language added about personal liability in 2014 completely removes any

individual liability for violations of the THRA. However, Sixth Circuit Courts have still recognized

individual liability for aiding and abetting THRA violations. Robinson v. Wilson Cty. Sch., No.

3:19-CV-01092, 2020 WL 12932419, at *3 (M.D. Tenn. Jan. 10, 2020) (finding THRA violations

“broader than Title VII in at least one respect: An individual who aids, abets, incites, compels, or

commands an employer to engage in employment-related discrimination may be held individually

liable for violating the THRA”) (See Also Walton v. Interstate Warehousing, Inc., No. 3:17-CV-

1324, 2020 WL 1640440, at *5 (M.D. Tenn. Apr. 2, 2020) (“the court found that the THRA is

broader than Title VII because it (1) applies to entities employing fewer employees than required

by Title VII, and (2) extends liability to persons who “[a]id, abet, incite, compel or command a

person to engage in any of the acts or practices declared discriminatory by this chapter.”)3

The Tennessee Human Rights Act states:

           a) It is a discriminatory practice for a person or for two (2) or more persons to:



           (1) Retaliate or discriminate in any manner against a person because such person has

           opposed a practice declared discriminatory by this chapter or because such person has

           made a charge, filed a complaint, testified, assisted or participated in any manner in any

           investigation, proceeding or hearing under this chapter; TN ST § 4-21-301.


3
    Plaintiff has provided a copy of this case as Exhibit B.



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Further, The Tennessee Human Rights Act states:

        No individual employee or agent of an employer shall be liable for any violation of part 4
        of this chapter that any employer shall be found to have committed. TN ST § 4-21-301.
In this matter, Plaintiff has not alleged Ramsey is an employee of Defendant Lampo. Plaintiff has

not alleged Ramsey was acting as an agent of Lampo. Plaintiff alleges Ramsey and Lampo, two

persons, retaliated against Plaintiff for exercising his religious rights.

        FRCP 12(d) states as follows:

        Result of Presenting Matters Outside the Pleadings. If, on a motion under Rule 12(b)(6)
        or 12(c), matters outside the pleadings are presented to and not excluded by the court, the
        motion must be treated as one for summary judgment under Rule 56. All parties must be
        given a reasonable opportunity to present all the material that is pertinent to the motion.

Defendant presents its motion apparently alleging that Ramsey is an employee of Lampo, however

this fact does not appear in Plaintiff’s Complaint. Their Motion to Dismiss should be treated as a

Motion for Summary Judgment. Fed. R. Civ. Pro. 56.

        Middle District Local Rule 56.01(b) states:

        In order to assist the Court in ascertaining whether there are any material facts in dispute,

        any motion for summary judgment made pursuant to Fed. R. Civ. P. 56 must be

        accompanied by a separate, concise statement of the material facts as to which the moving

        party contends there is no genuine issue for trial. Each fact must be set forth in a separate,

        numbered paragraph. Each fact must be supported by specific citation to the record. After

        each paragraph, the word “response” must be inserted and a blank space provided that is

        reasonably calculated to allow the non-moving party sufficient space to respond to the

        assertion that the fact is undisputed. A copy of the statement of undisputed material facts

        must also be provided to opposing counsel in an editable electronic format. The

        requirement that a statement of undisputed material facts in the described format must

        accompany any motion for summary judgment applies to pro separties. Pro se parties are




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           excused from providing a copy of the statement of undisputed material facts to opposing

           counsel in an editable electronic format.



           Defendant has not provided a statement of undisputed facts as required by this rule. As

such, their motion should be dismissed. In the alternative, no discovery has been completed in this

matter, and Plaintiff would request the court pursuant to FRCP 56(d) defer considering the motion

until discovery is closed.4

            II.     Count IV- Fraud

Mr. Ramsey’s Fraudulent Statement

           Defendant Ramsey has said on both his radio show and other media outlets countless times:

“Defendants had been voted ‘best place to work’ for over 10 years in a row by their own employees

without interference from management.”. When Plaintiff was interviewing for his position, he

specifically asked about this statement and was assured it was true. (Plaintiff’s First Amended

Complaint at ¶ 46-47). Plaintiff relied on this statement when he took the job. He suffered damages

because of his reliance when he was terminated on July 31, 2020. (Plaintiff’s First Amended

Complaint at ¶ 356-360). Taking all these statements as true and all inferences taken in favor of

the Plaintiff; this claim should not be dismissed.

Plaintiff’s Claim is Adequately Plead

           In Plaintiff’s First Amended Complaint, Plaintiff sufficiently meets the pleading standard

for fraud. “Whether a state-law claim sounds in fraud, and so triggers Rule 9(b)'s heightened

standard, is a matter of substantive state law, on which we must defer to the state courts.” Republic

Bank & Tr. Co. v. Bear Stearns & Co., 683 F.3d 239, 247 (6th Cir. 2012) (citing Erie R.R. v.



4
    See Exhibit C, Affidavit of Jonathan Street



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Tompkins, 304 U.S. 64, 78 (1938); Rutherford v. Columbia Gas, 575 F.3d 616, 621 (6th Cir.

2009)). Fraud is sufficiently plead when the Plaintiff makes clear which Defendant spoke the

fraudulent utterances and the contents of those utterances. PNC Multifamily Cap. Institutional

Fund XXVI Ltd. P'ship v. Bluff City Cmty. Dev. Corp., 387 S.W.3d 525, 549 (Tenn. Ct. App. 2012).

       In Plaintiff's First Amended Complaint, Plaintiff alleges that Defendant Ramsey stated that

Lampo had been voted “best place to work” through employee polls that lacked intervention from

management. (Plaintiff’s First Amended Complaint at ¶ 47). The allegation sufficiently identifies

the speaker, the statement in reference, and ties the statement to the time at which the Plaintiff

applied for employment. Throughout the Complaint, Plaintiff continues to specify instances in

which he heard and relied on this statement. (Id. at ¶ 49-50, ¶ 325). Plaintiff’s First Amended

Complaint includes reference to the specific time in which he heard the statements and began

formulating reliance around them—when Ramsey began pursuing employment with him. This

finite period of time is sufficient to satisfy the heightened pleading standard for fraud.

Defendant Ramsey’s Statement is Sufficiently Material to be Actionable

       Defendant Ramsey’s Statement, as plead in Plaintiff’s First Amended Complaint, is

material enough to be actionable. A fact is material if “(a) a reasonable [person] would attach

importance to its existence or nonexistence in determining his [or her] choice of action in the

transaction in question; or (b) the maker of the representation knows or has reason to know that

its recipient regards or is likely to regard the matter as important in determining his [or her]

choice of action, although a reasonable [person] would not so regard it. Patel v. Bayliff, 121 S.W.

3d 347, 353 (Tenn. Ct. App. 2003) (quoting Lowe v. Gulf Coast Dev., Inc., No. 01–A–

019010CH00374, 1991 WL 220576, at *8 (Tenn. Ct. App. 1991)).” PNC Multifamily Cap.

Institutional Fund XXVI Ltd. P'ship v. Bluff City Cmty. Dev. Corp., 387 S.W. 3d 525, 550 (Tenn.




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Ct. App. 2012) (See also, Homestead Grp., LLC v. Bank of Tennessee, 307 S.W.3d 746, 752

(Tenn. Ct. App. 2009).

       Here, both (a) and (b) apply. After hearing Defendant Ramsey’s statements alleged in

Paragraph 47 of Plaintiff's First Amended Complaint, Plaintiff acted as a reasonable person in

using statements made by the Chief Executive Officer of his prospective employer to make a

determination about whether or not he would move across the country for a job. (Plaintiff’s First

Amended Complaint at ¶ 359). The law does not require that the material fact which Plaintiff

relied on be the only material fact relied on, such is the case here. In accordance with other

material considerations, Plaintiff reasonably relied on Defendant Ramsey’s statement about the

working conditions at Defendant Lampo, as well as Defendant Lampo’s assurances on those

statements, as a crucial decision-making point in accepting employment with Defendant Lampo.

       Additionally, Defendant Ramsey knew that the recipient of the statements would be

likely to regard the matter as important in decision-making, whether or not that person is

reasonable. Defendant Ramsey has made a career of advising individuals about financial

planning and decision-making through the use of widespread media including television, radio,

and print media. As a result, Defendant Ramsey frequently makes statements to prospective

employees or customers that he expects to influence their decision-making either to come work

for him or to purchase his products and services. Defendant Ramsey certainly knew that his

statements about Defendant Lampo’s work environment would be relied on in decision-making.

Plaintiff Reasonably Relied on Defendant Ramsey’s Fraudulent Statement

       Plaintiff’s reliance on Defendant Ramsey’s fraudulent statement was reasonable. When

determining whether a party reasonably relied on a fraudulent statement, factors considered

include: (1) the party's sophistication; (2) whether there are longstanding business or personal




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relationships between the parties; (3) the relative availability of the information; (4) whether a

fiduciary relationship exists between the parties; (5) whether there was concealment of the fraud;

(6) whether the party had an opportunity to discover the fraud; (7) which party initiated the

transaction; and (8) the specificity of the statements. (internal citations omitted). Boynton v.

Headwaters, Inc., 737 F. Supp. 2d 925, 931 (W.D. Tenn. 2010). Plaintiff notes that the third,

fifth, and seventh factors are particularly operative.

       Defendant Ramsey consistently makes public statements about the working environment

at Defendant Lampo, which allowed the Plaintiff to make a reasonable inquiry into the truth of

the statements. Plaintiff’s efforts included reading reports from Defendant Ramsey regarding the

working conditions at Defendant Lampo and asking the individuals recruiting him about the truth

of the Defendant Ramsey’s fraudulent statements at issue in this lawsuit. (Plaintiff’s First

Amended Complaint at ¶ 49-50, ¶ 325). Despite these efforts, Plaintiff had no reason to believe

       Defendant made a clear effort to conceal the truth of the fraudulent statements. Despite

Plaintiff’s efforts, Plaintiff was given no reason to believe Defendant Ramsey’s statements were

false and continued to believe them as a reasonable person would. (See Id. at ¶ 375). Despite

Plaintiff’s best efforts to investigate the truth of Defendants’ statements and affirmations, each

and every employee confirmed the lie, resulting in Plaintiff’s reasonable reliance on the

statements and affirmations.

       Finally, Defendants initiated the employment relationship with the Plaintiff and relied on

Defendant Ramsey’s fraudulent statements. (Id. at ¶ 18). Plaintiff did not independently seek

employment with Defendants and acted reasonably in relying on their repeated assurances that

Defendant Lampo would be one of the “best places to work” as decided by employees

independent of managerial interference. These statements and assurances by both Defendants




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were intended to, and in fact did, induce Plaintiff to quit his high paying job and move to

Tennessee.

        In contrast, a party is not justified in relying on a statement when they have received

conflicting information which might create doubt in the veracity of the statement. Homestead

Grp., LLC v. Bank of Tennessee, 307 S.W.3d 746, 753 (Tenn. Ct. App. 2009). After hearing

Defendant Ramsey’s statements about the working conditions at Defendant Lampo, Plaintiff

took efforts to either confirm or refute what he believed to be true and intended to rely on.

During such efforts, Plaintiff inquired to employees of Defendant Lampo to confirm the

statements, which they did, and further encouraged Plaintiff to rely on the statements. Plaintiff

took sufficient steps to discover whether there would be any reason to doubt that Defendant

Ramsey’s statements were untrue. Through these efforts, Plaintiff found no reason to doubt the

veracity of the statements and continued to reasonably rely on them, ultimately to his detriment.

Plaintiff’s Claim is not Time-Barred

        Plaintiff originally filed this lawsuit in the Williamson County Chancery Court on April

15, 2021 in order to preserve Plaintiff’s statute of limitations. Once the EEOC issued the right to

sue on their federal claims; Plaintiff voluntarily dismissed that lawsuit pursuant to Tennessee Rule

of Civil Procedure 41.01 on August 24, 2021. Plaintiff filed the current action on December 13,

2021.

        Pursuant to Tenn. R. Civ. P. 41.01 and the Tennessee “saving statute”, Tenn. Code Ann §

28-1-105, Plaintiff has one year from the time of their voluntary dismissal to refile their lawsuit

from the date of the voluntary dismissal. Plaintiff is not time barred from bringing up any claim

from a previous complaint which was voluntarily dismissed. Tenn. R. Civ. P. 41.01. Energy Sav.

Prod., Inc. v. Carney, 737 S.W.2d 783, 785 (Tenn. Ct. App. 1987) (“The “saving statute” accords




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unto a plaintiff who files his second action within one year of the voluntary non-suit of his first

suit the same procedural and substantive benefits which were available to the plaintiff in the first

action.”).

        Specifically, Plaintiff can file suit upon any fraud actions not time-barred at the filing of

the initial action. Id. This savings statute has also been adopted as a substantive law recognized by

suits that are moved from State to federal court. Holden v. Cities Serv. Co., 514 F. Supp. 662, 664–

65 (E.D. Tenn. 1980); See also Eason v. Memphis Light, Gas & Water Div., a Div. of City of

Memphis, 866 S.W.2d 952, 954 (Tenn. Ct. App. 1993).

        Under    Tennessee     law,   the    terms    intentional   misrepresentation,    fraudulent

misrepresentation, and fraud are synonymous, and the claim has the following elements: (1)

defendant made a representation of an existing or past fact; (2) representation was false when

made; (3) representation was in regard to a material fact; (4) false representation was made either

knowingly or without belief in its truth or recklessly; (5) plaintiff reasonably relied on the

misrepresented material fact; and (6) plaintiff suffered damage as a result of misrepresentation.

Evans v. Walgreen Co., 813 F. Supp. 2d 897 (W.D. Tenn. 2011), aff'd, 559 F. App'x 508 (6th Cir.

2014) (emphasis added).

        Defendants rely on T.C.A. 28-3-104 to argue Plaintiff’s claims are barred by the statute of

limitations. Plaintiff would argue the more proper statute of limitations would be contained in

T.C.A. 28-3-105 as it is not a personal injury claim and should be a 3-year statute of limitations.

Courts have treated economic loss by fraud or misrepresentation as an injury to personal property

and therefore subject to a three-year statute of limitations under Tenn. Code Ann. § 28–3–105.

Evans v. Walgreen Co., 813 F. Supp. 2d 897, 934–935 (W.D. Tenn. 2011).




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       However even looking at language of the one year statute of limitations Defendant asks the

court to rely on; Plaintiffs claims are not time barred: “Except as provided in subdivision (a)(2),

the following actions shall be commenced within one (1) year after the cause of action accrued:”

T.C.A. 28-3-104 (emphasis added). Plaintiff did not suffer damages, a required element for any

fraud claim, until he was terminated on July 31, 2020; as such his claims are not time barred.

(Plaintiff’s First Amended Complaint at ¶ 317-318).



Conclusion

       For the reasons stated above, Defendants Motion should be denied.

                                             Respectfully Submitted,

                                             /s/_JONATHAN A. STREET_________________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing was sent via the Court’s
electronic case filing system to the following on this the 5th day of April 2022:

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                                                             /s/_Jonathan Street___________
                                                               Jonathan Street




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